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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                 KALAMAZOO DIVISION

ASHLEY WALDORF and
RYAN WALDORF,

       Plaintiffs,
                                                    CASE NO.: 1:19-CV-00060-PLM-PJG
-vs-

BANK OF AMERICA, N.A.,

       Defendant.
                                       /

                            NOTICE OF PENDING SETTLEMENT

        Plaintiff, Ashley Waldorf, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release documents. Upon execution of the

same, the parties will file the appropriate dismissal documents with the Court.

                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2019, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Thomas J. Rheaume, Jr., and

Stephen J. Staple, Bodman PLC, 99 Monroe Avenue NW, Suite 506, Grand Rapids, MI 49503

(trheaume@bodmanlaw.com and sstaple@bodmanlaw.com).

                                                    /s/ Jason R. Derry, Esquire
                                                    Jason R. Derry, Esquire
                                                    Florida Bar No.: 0036970
                                                    Morgan & Morgan, Tampa, P.A.
                                                    One Tampa City Center
                                                    201 North Franklin Street, 7th Floor
                                                    Tampa, FL 33602
                                                    Telephone: (813) 223-5505
                                                    Facsimile: (813) 257-0577
                                                    jderry@ForThePeople.com
                                                    jkneeland@ForThePeople.com
                                                    Attorney for Plaintiff
